       Case 1:19-cv-05582-VMC Document 203 Filed 07/06/21 Page 1 of 2




                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and              CONSOLIDATED CASES
ROGER MALDONADO,                       PURSUANT TO FED. R. CIV. P. 42

      Plaintiffs,
                                       Civil Action File No.
            v.
                                       1:19-cv-05582-SCJ
USI INSURANCE SERVICES LLC,

      Defendant.


USI INSURANCE SERVICES LLC,

      Plaintiff,                       Civil Action File No.

            v.                         1:20-cv-02490-SCJ

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

      Defendant.


                         ORDER ESTABLISHING
                    DISPOSITIVE MOTION DEADLINES

      This matter is before the Court upon the Joint Motion to Establish

Dispositive Motion Deadlines (the “Joint Motion”) filed by all parties to these



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         Case 1:19-cv-05582-VMC Document 203 Filed 07/06/21 Page 2 of 2




consolidated cases, specifically USI Insurance Services LLC (“USI”), Jameson

Taylor Anderson, Robert Dean Anderson, Roger Maldonado, and Southeast Series

of Lockton Companies, LLC (“Lockton”). Having reviewed the Joint Motion,

based on the consent of all parties to these consolidated cases, and for good cause

shown, the Court GRANTS the Joint Motion and ORDERS the following:

        1.   All dispositive motions shall be filed no later than Friday, August 13,

2021.

        2.   Responses to any dispositive motion shall be filed no later than

Friday, September 10, 2021.

        3.   Reply Briefs in support of any dispositive motion shall be filed no

later than Friday, October 1, 2021.

                          6th
        SO ORDERED this ___________ day of July, 2021.


                                               s/Steve C. Jones
                                             The Honorable Steve C. Jones
                                             United States District Judge




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